
PER CURIAM.
Affirmed. See Hernandez v. State, 124 So.3d 757 (Fla. 2012) (holding that Padilla v. Kentucky, 559 U.S. 356, 130 S.Ct. 1473, 176 L.Ed.2d 284 (2010), does not apply retroactively). See also State v. Green, 944 So.2d 208, 210 (Fla. 2006) (holding that the two-year limitations period for filing a motion to withdraw plea for failure of the trial court to advise a defendant that the plea could result in deportation "commences when the judgment and sentence become final unless the defendant could not, with the exercise of due diligence, have ascertained within the two-year period that he or she was subject to deportation"); Jules v. State, 233 So.3d 1196 (Fla. 3d DCA 2017).
